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IN THE UNITED STATES DISTRICT COURT bo
FOR THE

MIDDLE DISTRICT OF PENNSYLVANIA

 

PEF|
IRVING MURRAY,
Plaintiff
V. § CIVIL NO. 3:CV-17-491
JOHN E. WETZEL, ET AL., ; (Judge Conaboy)
Defendants '

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QRDER
k DAY OF FEBRUARY, 2018, in

AND NOW THEREFORE THIS
accordance with the accompanying Memorandum, IT IS HEREBY

ORDERED:

1. Corrections Defendants' motion to dismiss (Doc.
52) is PARTIALLY GRANTED.

2. Dismissal is GRANTED in favor of Defendants
Wetzel, Debalso, Mason, Silva, Varner, and
Hinman on the basis of lack of personal
involvement.

3. Dismissal is GRANTED in favor of Defendant
Damore and with respect to all claims of verbal

harassment.

 

 

 

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4. The request for dismissal with respect to the
claim for damages under the Pennsylvania
Constitution is GRANTED. However, the related
claims for injunctive and declaratory relief
will proceed.

5, The request for dismissal of the deliberate
indifference claims against Defendants Houser

Steinhart is DENIED.

6 The request for dismissal of the retaliation
claim against Kellner is DENIED.
7. The claims against Correctional Defendants

Houser, Kellner, and Steinhart will proceed.

 

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R‘ELCHARD P. CONABOY
United States District Judg,
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